       Case 5:25-cv-00895-KK-SP                      Document 8               Filed 04/18/25      Page 1 of 2 Page ID #:345
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
  Kenneth S. August            Blake W. Meadows
  kaugust@augustlawgroup.com blake@smithmeadowslaw.com
  CA Bar No. 152704             GA Bar No. 569729
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 ATTORNEY(S) FOR:

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
Cornerstone Payment Systems, Inc.
                                                                                                      5:25-CV-895
                                                              Plaintiff(s),
                                     v.
Pleros LLC, et al                                                                            CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                          Cornerstone Payment Systems, Inc.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                        PARTY                                                          CONNECTION / INTEREST
Cornerstone Payment Systems, Inc.                                             Plaintiff
Pleros LLC                                                                    Defendant
Quba.pro Inc.                                                                 Defendant
Standard Goods LLC                                                            Defendant
Standard Way, LLC                                                             Defendant
Rodem Tree LLC                                                                Defendant
Olivet University, Inc.                                                       Defendant
World Olivet Assembly, Inc.                                                   Defendant
Olivet Assembly, Inc.                                                         Defendant
Dover Greens LLC                                                              Defendant
See attached Exhibit A.




         April 18, 2025
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):




CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
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                                Exhibit A


             PARTY                          CONNECTION/INTEREST

1000 East First Estates LLC             Defendant
Jubilee World, Inc.                     Defendant
Great Commission University             Defendant
7725 Penrose LLC                        Defendant
Christian Innovation Center LLC         Defendant
Good Manager Holdings, Inc.             Defendant
Nicolas Haman a/k/a Nicholas Haman      Defendant
Jung Mi Lee                             Defendant
Daewon Kim                              Defendant
Younghai Ko a/k/a Young Hai Ko          Defendant
a/k/a Youngshai Ko a/ka Emily Ko
Alma Osorio a/k/a Alma Osario           Defendant
Ruby Hwang                              Defendant
Anthony Chiu a/k/a Juan We Chiu         Defendant
Andrew Lin a/k/a Tony Lin               Defendant
Haejo Yim                               Defendant
Nicholas Logan                          Principal of Plaintiff
Nathan Logan                            Principal of Plaintiff
Smith & Meadows LLC                     Fee Arrangement with Plaintiff
